     Case 2:15-md-02641-DGC Document 1469-2 Filed 04/15/16 Page 1 of 4



 1
 2
 3
 4
 5
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9   IN RE BARD IVC FILTERS PRODUCTS                   No. 2:15-MD-02641-DGC
     LIABILITY LITIGATION
10                                                     SECOND AMENDED MASTER
                                                       SHORT FORM COMPLAINT FOR
11                                                     DAMAGES FOR INDIVIDUAL
                                                       CLAIMS AND DEMAND FOR JURY
12                                                     TRIAL
13
14          Plaintiff(s) named below, for their Complaint against Defendants named below,
15   incorporate the Master Complaint for Damages in MDL 2641 by reference (Doc. 364).
16   Plaintiff(s) further show the Court as follows:
17          1.     Plaintiff/Deceased Party:
18                 _____________________________________________________________
19          2.     Spousal Plaintiff/Deceased Party’s spouse or other party making loss of
20                 consortium claim:
21                 _____________________________________________________________
22          3.     Other Plaintiff and capacity (i.e., administrator, executor, guardian,
23                 conservator):
24                 _____________________________________________________________
25          4.     Plaintiff’s/Deceased Party’s state(s) [if more than one Plaintiff] of residence
26                 at the time of implant:
27                 _____________________________________________________________
28
     Case 2:15-md-02641-DGC Document 1469-2 Filed 04/15/16 Page 2 of 4



 1        5.    Plaintiff’s/Deceased Party’s state(s) [if more than one Plaintiff] of residence
 2              at the time of injury:
 3
                _____________________________________________________________
 4
          6.    Plaintiff’s current state(s) [if more than one Plaintiff] of residence:
 5
                _____________________________________________________________
 6
          7.    District Court and Division in which venue would be proper absent direct
 7
                filing:
 8
                _____________________________________________________________
 9
          8.    Defendants (check Defendants against whom Complaint is made):
10
                □         C. R. Bard Inc.
11
                □         Bard Peripheral Vascular, Inc.
12
          9.    Basis of Jurisdiction:
13
                □         Diversity of Citizenship
14
                □         Other: ________________________________________________
15
                a.        Other allegations of jurisdiction and venue not expressed in Master
16
                          Complaint:
17
                _____________________________________________________________
18
                _____________________________________________________________
19
                _____________________________________________________________
20
          10.   Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making
21
                a claim (Check applicable Inferior Vena Cava Filter(s)):
22
                □         Recovery® Vena Cava Filter
23
                □         G2® Vena Cava Filter
24
                □         G2® Express Vena Cava Filter
25
                □         G2® X Vena Cava Filter
26
                □         Eclipse® Vena Cava Filter
27
                □         Meridian® Vena Cava Filter
28

                                                 -2-
     Case 2:15-md-02641-DGC Document 1469-2 Filed 04/15/16 Page 3 of 4



 1              □     Denali® Vena Cava Filter
 2              □     Other: _________________________________________________
 3        11.   Date of Implantation as to each product:
 4              _____________________________________________________________
 5              _____________________________________________________________
 6        12.   Counts in the Master Complaint brought by Plaintiff(s):
 7              □     Count I:      Strict Products Liability – Manufacturing Defect
 8              □     Count II:     Strict Products Liability – Information Defect (Failure
 9                                  to Warn)
10              □     Count III:    Strict Products Liability – Design Defect
11              □     Count IV:     Negligence - Design
12              □     Count V:      Negligence - Manufacture
13              □     Count VI:     Negligence – Failure to Recall/Retrofit
14              □     Count VII:    Negligence – Failure to Warn
15              □     Count VIII: Negligent Misrepresentation
16              □     Count IX:     Negligence Per Se
17              □     Count X:      Breach of Express Warranty
18              □     Count XI:     Breach of Implied Warranty
19              □     Count XII:    Fraudulent Misrepresentation
20              □     Count XIII: Fraudulent Concealment
21              □     Count XIV: Violations of Applicable ________________ (insert
22                                  state) Law Prohibiting Consumer Fraud and Unfair and
23                                  Deceptive Trade Practices
24              □     Count XV:     Loss of Consortium
25              □     Count XVI: Wrongful Death
26              □     Count XVII: Survival
27              □     Punitive Damages
28

                                             -3-
     Case 2:15-md-02641-DGC Document 1469-2 Filed 04/15/16 Page 4 of 4



 1                 □      Other(s):      ___________________        (please     state   the   facts
 2                                       supporting this Count in the space immediately below)
 3                        _______________________________________________________
 4                        _______________________________________________________
 5                        _______________________________________________________
 6                        _______________________________________________________
 7                        _______________________________________________________
 8                        ______________________________________________________
 9          13.    Jury Trial demanded for all issues so triable?
10                 □      Yes
11                 □      No
12          RESPECTFULLY SUBMITTED this ____ day of _______________, 20___.
13
                                                [SIGNATURE BLOCK]
14
15                                              By:     /s/
                                                      [Attorney name/address]
16
17
18
19          I hereby certify that on this ____ day of _______________, 20___, I electronically
20
     transmitted the attached document to the Clerk’s Office using the CM/ECF System for
21
     filing and transmittal of a Notice of Electronic Filing.
22
                                                      /s/
23
24
25
26
27
28

                                                  -4-
